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UNITED STATES DISTRICT COURT Pa E
DISTRICT OF KANSAS
AUG 16 2007,
In the Matter of the Search of APPLICATION AND AFFIDA AIT
premises known as, FOR SEARCH WARRANT “~, =

. i, CASE NUMBER: 07-8085-DJW
Lawrence, Kansas 66046

| James D Kanatzar, being duly sworn depose and say:

| am a Special Agent of the Immigration and Customs Enforcement, and have
reason to believe that on the property or premises known as:

., Lawrence, Kansas 66046

a three story multifamily structure containing 36 apartments which is broken
into three sections with each section containing 12 apartments each. The
apartment building is tan and gray in color with black shutters on each side
of the apartment windows. The main entry into each section is located in
the middle of each building which has a hallway and stairs. The target
building has a large “P” attached to the building above the entry hallway.
Apartment 31 is located on the second floor of building “P” and the
apartment numbers are affixed to the building on the left side of the entry
door to the apartment. The apartment building is located in the city of
Lawrence, Douglas County, Kansas.

in the District of Kansas there is now concealed a certain person or property, namely:

See attachment A. Which are evidence, fruits, and instrumentalities of
trafficking, receipt, distribution, and/or possession of visual depictions, and
other related materials, involving minors engaging in sexually explicit conduct
(child pornography), as defined in Title 18, United States Code, Section
2252.

The facts to support a finding of Probable Cause are as follows: See attached affidavit.

Continued on the attached sheet and made a part hereof. X Yes LI No

Sworn to before me, and subscribed in my
presence IlA+h gay of 4pust- , 2007, at
Kansas City, Kansas.

0021
DAVID J. WAXSE \ Ay
U.S. Magistrate Judge

Name & Title of Judicial Officer Signature of Judicial Officer

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AFFIDAVIT
I, James D Kanatzar, being first duly sworn state:
INTRODUCTION
1. I ama Special Agent of the Immigration and Customs
Fnforcement currently assigned to the Office of the Resident
Agent in Charge, Kansas City, Missouri and have been a federal
officer for over 18 years. I have had the opportunity to
conduct, coordinate and/or participate in numerous investigations
relating to the sexual exploitation of children. I have also had
the opportunity to observe and review numerous examples of child
pornography in all forms of media including computer media, to
discuss and review these materials with endocrinologists and
pediatricians, and have received training and instruction from

experts in the field of investigation of child pornography.

2. This affidavit is made in support of an application for
a warrant to search the entire premises located at
Street, , Lawrence, Kansas 66046. Additionally, this
application is to search any computer and computer media found

therein.

3. This affidavit is based upon information I have gained
from my investigation, my training and experience, as well as

information from Special Agents of the Immigration and Customs

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Enforcement at the CyberSmuggling Center and conversations with
other law enforcement officers. Since this affidavit is being
submitted for the limited purpose of securing a search warrant, I
have not included each and every fact known to me concerning this
investigation. I have set forth only the facts that I believe
are necessary to establish probable cause to believe that
evidence of violations of Title 18, United States Code, Section
2252 are located at the above address. Based upon the following
information, there is probable cause to believe that currently
located within the above-described premises is the evidence,
fruits, and instrumentalities of trafficking, receipt,
distribution, and/or possession of visual depictions, and other
related materials, involving minors engaging in sexually explicit
conduct (child pornography), as defined in Title 18, United
States Code, Section 2256, including:

a. Tapes, cassettes, cartridges, streaming tape,
commercial software and hardware, computer disks, CD ROM disks,
DVD disks, disk drives, monitors, computer printers, modems, tape
drives, disk application programs, data disks, system disk
operating systems, magnetic media floppy disks, hardware and
software operating manuals, tape systems and hard drive and other
computer related operation equipment, digital cameras, thumb
drives, scanners in addition to computer photographs, Graphic
Interchange formats and/or photographs, undeveloped photographic
film, slides, and other visual depictions of such Graphic
Interchange formats (including, but not limited to, JPG, GIF,

TIF, AVI, and MPEG), and the data within the aforesaid objects
relating to said materials, which may be, or are, used to:
visually depict child pornography; contain information pertaining
to the interest in child pornography, or sexual activity with
children; and/or distribute, receive, or possess child
pornography, information pertaining to an interest in child
pornography.

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b. Correspondence pertaining to the possession,
receipt or distribution of visual depictions of minors engaged in
sexually explicit conduct, as defined in Title 18, United States
Code, Section 2256, that were transmitted or received using
computer, some other facility or means of interstate or foreign

commerce, common carrier, or the U.S. mail.

c. Books and magazines containing visual depictions
of minors engaged in sexually explicit conduct, as defined in
Title 18, United States Code, Section 2256.

d. Originals, copies and negatives of visual
depictions of minors engaged in sexually explicit conduct, as
defined in Title 18, United States Code, Section 2256.

e. Motion picture films and video cassettes of visual
depictions of minors engaged in sexually explicit conduct, as
defined in Title 18, United States Code, Section 2256.

f. Envelopes, letters, and other correspondence
including, but not limited to, electronic mail, chat logs, and
electronic messages, offering to transmit through interstate or
foreign commerce, including by United States mail or by computer,
visual depictions of minors engaged in sexually explicit conduct,
as defined in Title 18, United states Code, Section 2256.

g. Envelopes, letters, and other correspondence
including, but not limited to, electronic mail, chat logs, and
electronic messages, soliciting minors to engage in sexually
explicit conduct for the purposes of producing child pornography
as defined in Title 18, United States Code, Section 2251.

h. Envelopes, letters, and other correspondence
including, but not limited to, electronic mail, chat logs,
electronic documents and messages, describing or related to the
operation of the child pornography distributors/collectors as
described in the attached affidavit, as well as any envelopes,
letters, and other correspondence including, but not limited to,
electronic mail, chat logs, electronic documents and messages
related to the solicitation and/or invitation for membership into

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this group.

I. Envelopes, letters, and other correspondence,
including, but not limited to, electronic mail, chat logs and
electronic messages, identifying persons transmitting through
interstate or foreign commerce, including by United states mail
or by computer, any visual depiction of minors engaged in
sexually explicit conduct, as defined in Title 18, United States
Code, Section 2256.

j- Books, ledgers, and records bearing on the
production, reproduction, receipt, shipment, orders, requests,
trades, purchases, or transactions of any kind involving the
transmission through interstate or foreign commerce including by
United States mail or by computer, any visual depiction of minors
engaged in sexually explicit conduct, as defined in Title 18,
United States Code, Section 2256.

k. Address books, mailing lists, supplier lists,
mailing address labels, and any and all documents and records
pertaining to the preparation, purchase, and acquisition of names
or lists of names to be used in connection with the purchase,
sale, trade, or transmission, through interstate or foreign
commerce including by United States mail or by computer, any
visual depiction of minors engaged in sexually explicit conduct,
as defined in Title 18, United States Code, Section 2256.

1. Address books, names, lists of names and addresses
of minors visually depicted while engaged in sexually explicit
conduct, as defined in Title 18, United States Code, Section
2256.

m. Diaries, notebooks, notes and other records
reflecting personal contact and other activities with minors
visually depicted while engaged in sexually explicit conduct, as
defined in Title 18, United States Code, Section 2256.

n. Materials and photographs depicting sexual conduct
between adults and minors.

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oO. Records evidencing occupancy or ownership of the
premises described above, including, but not limited to, utility
and telephone bills, mail envelopes, or addressed correspondence.

p. Records or other items which evidence ownership or
use of computer equipment found in the above residence,
including, but not limited to, sales receipts, bills for Internet
access, handwritten notes and handwritten notes in computer

manuals.

DEFINITIONS

4. 18 U.S.C. Section 2256, et. seq. defines, for the
purposes of Section 2252, the following terms:

(1) "Minor" means any person under the age of eighteen

(18) years;

(2) "Sexually Explicit Conduct" means actual or
simulated-
a) sexual intercourse, including genital-

genital, oral-genital, anal-genital, or oral-
anal, whether between persons of the same or
opposite sex;

b) bestiality;

c) masturbation;
da) sadistic or masochistic abuse; or
e) lascivious exhibition of the genitals or

pubic area of any person.

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(3) "Producing" means producing, directing,

manufacturing, issuing, publishing or advertising.

(4) "Visual Depiction" includes undeveloped film and

video tape.

(5) "Computer" is defined pursuant to Title 18 United
States Code, Section 1030(e) (1), as: an
electronic, magnetic, optical, electrochemical, or
other high speed data processing device performing
logical, arithmetic, or storage functions, and
includes any data storage facility or
communications facility directly related to or
operating in conjunction with such a device, but
such term does not include an automated typewriter
or typesetter, a portable hand held calculator, or

other similar device.

5. I know that computer hardware and computer software
maybe utilized to store records which include, but are not
limited to, those related to business activities, criminal
activities, associate names and addresses, and the identity and

location of assets illegally gained through criminal activity.

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6. The terms “records”, “documents”, and “materials”
include all information recorded in any form, visual or aural,
including the originals and all non-identical copies thereof,
whether different from the original by reason of any notation
made on such copies or otherwise, including, but not limited to

the following:

a. Written or printed matter of any kind,
correspondence, memoranda, notes, diaries, statistics, letters,
telephone toll records, telegrams, contracts, reports, checks,
statements, receipts, returns, summaries, pamphlets, books,
ledgers, journals, registers, records, vouchers, slips, bills,
calendars, pads, notebooks, files, logs, lists, bulletins, credit.
materials, data bases, teletypes, telefaxes, invoices,
worksheets;

b. Graphic records or representations, photographs,
slides, drawings, designs, graphs, charts, pictures, sketches,
images, films, videotapes, and aural records or representations,
tapes, records, disks.

7. The terms “records”, “documents”, and “materials”
include all of the foregoing, in whatever form and by whatever
means, the records, documents, or materials, and their drafts, or
their modifications that may have been created or stored,
including (but not limited to): any hand made form (such as
writing, drawing, painting, with any implement on any surface,
directly or indirectly); any photographic form (such as
microfilm, microfiche, prints, slides, negatives, videotapes,

motion pictures, photocopies); any mechanical form (such as

phonograph records, printing, or typing); and any electrical,

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electronic, or magnetic form (such as tape recordings, cassettes,
compact discs, or any information on an electronic or magnetic
storage device, such as floppy diskettes, hard disks, CD-ROMs,
optical disks, printer buffers, smart cards, memory calculators,
electronic dialers, Bernoulli drives, or electronic notebooks, as

well as printouts or readouts from any magnetic storage device).

8. I am familiar with the following facts based upon my
own personal observations, as well as information officially

supplied to me by other law enforcement agents:

USE OF COMPUTERS WITH CHILD PORNOGRAPHY

9, Computers and computer technology have revolutionized
the way in which child pornography is produced, distributed, and
utilized. It has also revolutionized the way in which child
pornography collectors interact with each other. Child
pornography formerly was produced using cameras and film (either
still photography or movies.) The photographs required darkroom
facilities and a significant amount of skill in order to develop
and reproduce the images. As a result, there were definable
costs involved with the production of pornographic images. To

distribute these on any scale also required significant

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resources. The photographs themselves were somewhat bulky and
required secure storage to prevent their exposure to the public.
The distribution of these wares was accomplished through a
combination of personal contact, mailings, and telephone calls.

Any reimbursement would follow these same paths.

10. The development of computers has added to the
methods used by child pornography collectors to interact with and
sexually exploit children. Computers serve four functions in
connection with child pornography. These are: production,

communication, distribution, and storage.

a. Pornographers can now produce both still and
moving images directly from a common video camera. The camera is
attached, using a cable, directly to the computer using a device
called a video capture board. This device turns the video output
into a form that is usable by computer programs. The output of
the video camera can be stored, manipulated, transferred or
printed directly from the computer. The captured image can be
edited in very similar ways to a photograph. The image can be
lightened, darkened, cropped, and manipulated in a wide variety
of ways. The producers of child pornography can also use a
device known as a scanner to transfer photographs into a
computer-readable format. As a result of this technology, it is
relatively inexpensive and technically easy to produce, store and
distribute child pornography. There is the added benefit to the
pornographer that this method of production does not leave as
large a trail for law enforcement to follow as have been used in
the past.

b. Previously, child pornography collectors had to
rely on personal contact, U.S. mail, and telephonic
communications in order to sell, trade or market pornography.
The development of the computer has also changed.that. A device
known aS a modem allows any computer to connect to another
computer through the use of telephone lines. By connecting to a
host computer, electronic contact can be made to literally
millions of computers around the world. A host computer is one

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that is attached to a network and serves many users. These host
computers are sometimes operated by commercial concerns, such as
CompuServe and America Online, which allow subscribers to dial a
local number and connect to a network which is in turn connected

to their host systems. These service providers allow electronic
mail service between subscribers and sometimes between their own
subscribers and those of other networks. In addition, these

service providers act as a gateway for their subscribers to the
Internet or the World Wide Web, hence they are commonly described
as Internet Service Providers (ISPs). Some of these systems
offer their subscribers the ability to communicate publicly or
privately with each other in real time in the form of “chat
rooms.”

c. Aside from “chat rooms” that reside on many
service providers’ networks, these ISPs allow access to a larger
network of chat channels, one of which is called Internet Relay
Chat (IRC), that is accessed through intermediary or “client

software”. Contact with other users in either of these
“internal” or “external” online formats can be very open or
anonymous - in front of everyone else who happens to be in the

same room/channel at the same time, or very private and personal
in the form of person to person instant messages.

d. Another type of this instant Messaging that exists
on the Internet is called IcQ. ICO (“I Seek You”) is a program
which allows the user: to notify others of his online status
(i.e., available, free for chat, away, etc.); to “page” another
user by sending a message to the other user’s computer; to
transfer files, including text and graphic image files; to chat
or communicate directly with one or more other users (up to an
unlimited number); to save chat information in a text file for
future access; and, to communicate via E-mail, among other
things. A user’s connection to ICQ and through ICQ to another
user, is through a telephone line.

e. These communication structures are ideal for the
child pornography collector. The open and anonymous
communication allows the user to locate others of similar
inclination and still maintain their anonymity. Once contact has
been established, it is then possible to send text messages and
graphic images to other trusted child pornography collectors.
Moreover, the child pornography collector need not use the large
service providers. Child pornography collectors can use standard
Internet connections, such as those provided by businesses,
universities, and government agencies, to communicate with each
other and to distribute pornography. These communication links
allow contacts around the world as easily as calling next door.

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Additionally, these communications can be guick, relatively
secure, and as anonymous as desired. All of these advantages are
well known and are the foundation of transactions between child

pornography collectors.

£. The ability to produce child pornography easily,
reproduce it inexpensively, and market it anonymously (through
electronic communications) has drastically changed the method of
distribution of child pornography. For example, child
pornography can be transferred (via electronic mail or through
file transfer protocols’ (FTP)) to anyone with access to a
computer and modem. Because of the proliferation of commercial
services that provide both electronic mail service, chat
services, and easy access to the Internet, the computer is a
preferred method of distribution of child pornographic materials.

g. The computer’s capability to store images in
digital form makes it an ideal repository for pornography. A
single floppy disk can store dozens of images and hundreds of
pages of text. The size of the electronic storage media
(commonly referred to as a hard drive) used in home computers has
grown tremendously within the last several years. Hard drives
with the capacity of two hundred and fifty (250) gigabytes are
not uncommon. These drives can store thousands of images at very
high resolution. Magnetic storage located in host computers adds
another dimension to the equation. It is possible to use a video
camera to capture an image, process that image in a computer with
a video capture board, and to save that image to storage in
another country. Once this is done, there is no readily apparent
evidence at the scene of the crime. Only with careful laboratory
examination of electronic storage devices is it possible to
recreate the evidence trial.

ithe File Transfer Protocol (FTP) is a protocol that defines
how to transfer files from one computer to another. One use,
known as ¥anonymous FTP#, allows users who do not have a log in
name or password to access certain files from another computer,
and copy those files to their own computer.

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The Internet and Definitions of Technical Terms Pertaining to
Computers

11. As part of my training, I have become familiar with the
Internet (also commonly known as the World Wide Web), which is a
global network of computers and other electronic devices that
communicate with each other using various means, including
standard telephone lines, high-speed telecommunications links
(e.g., copper and fiber optic cable), and wireless transmissions
including satellite. Due to the structure of the Internet,
connections between computers on the Internet routinely cross
state and international borders, even when the computers
communicating with each other are in the same state. Individuals
and entities use the Internet to gain access to a wide variety of
information; to send information to, and receive information
from, other individuals; to conduct commercial transactions; and
to communicate via electronic mail (“e-mail”). An individual who
wants to use Internet e-mail must first obtain an account with a
computer that is linked to the Internet - for example, through a
university, an employer, or a commercial service — which is
called an “Internet Service Provider” or “TSP” (see definition of
“Internet Service Provider” below). Once the individual has
accessed the Internet, that individual can use Internet mail
services, including sending and receiving e-mail. In addition,

the individual can visit websites (see definition of “websites”

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below), and make purchases from them.

12.

terms,

Set forth below are some definitions of technical

used throughout this Affidavit pertaining to the Internet

and computers more generally.

a.

Client/Server Computing: Computers on the Internet are
identified by the type of function they perform. A
computer that provides resources for other computers on
the Internet is known as a server. Servers are known
by the types of service they provide, that is how they
are configured. For example, a web server is a machine
that is configured to provide web pages to other -
computers requesting them. An e-mail server is a
computer that is configured to send and receive
electronic mail from other computers on the Internet.

A client computer is a computer on the Internet that is
configured to request information from a server
configured to perform a particular function. For
example, if a computer is configured to browse web
pages and has web page browsing software installed, it
is considered a web client.

Computer system and related peripherals, and computer
media: As used in this affidavit, the terms “computer
system and related peripherals, and computer media”
refer to tapes, cassettes, cartridges, streaming tape,
commercial software and hardware, computer disks, disk
drives, monitors, computer printers, modems, tape
drives, disk application programs, data disks, system
disk operating systems, magnetic media floppy disks,
hardware and software operating manuals, tape systems
and hard drives and other computer-related operation
equipment, digital cameras, scanners, in addition to
computer photographs, Graphic Interchange formats
and/or photographs, and other visual depictions of such
Graphic Interchange formats, including, but not limited
to, JPG, GIF, TIF, AVI, and MPEG.

Domain Name: Domain names are common, easy to
remember names associated with an Internet Protocol

address (defined below). For example, a domain name of
“www.usdo}.gov” refers to the Internet Protocol address

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of 149.101.1.32. Domain names are typically strings of
alphanumeric characters, with each level delimited by a
period. Each level, read backwards - from right to
left - further identifies parts of an organization.
Examples of first level, or top-level domains are
typically .com for commercial organizations, .gov for
the United States government, .org for organizations,
and, .edu for educational organizations. Second level
names will further identify the organization, for
example usdoj.gov further identifies the United States
governmental agency to be the Department of Justice.
Additional levels may exist as needed until each
machine is uniquely identifiable. For example,
www.usdo}.gov identifies the world wide web server
located at the United States Department of Justice,
which is part of the United States government.

Internet Service Providers (ISPs) and the Storage of
ISP Records: Internet Service Providers are commercial
organizations that are in business to provide
individuals and businesses access to the Internet.
ISPs provide a range of functions for their customers
including access to the Internet, web hosting, e-mail,
remote storage, and co-location of computers and other
communications equipment. ISPs can offer a range of
options in providing access to the Internet including
telephone based dial-up, broadband based access via
digital subscriber line (DSL) or cable television,
dedicated circuits, or satellite based subscription.
ISPs typically charge a fee based upon the type of
connection and volume of data, called bandwidth, that
the connection supports. Many ISPs assign each
subscriber an account name ~ a user name or screen
name, an “e-mail address,” an e-mail mailbox, and a
personal password selected by the subscriber. By using
a computer equipped with a telephone or cable modem,
the subscriber can establish communication with an ISP
over a telephone line or through a cable system, and
can access the Internet by using his or her account
name and personal password. ISPs maintain records
(“ISP records”) pertaining to their subscribers
(regardless of whether those subscribers are
individuals or entities). These records may include
account application information, subscriber and billing
information, account access information (often times in
the form of log files), e-mail communications,
information concerning content uploaded and/or stored
on or via the ISP’s servers, and other information,

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which may be stored both in computer data format and in

written or printed record format. ISPs reserve and/or
maintain computer disk storage space on their computer
system for their subscribers’ use. This service by

ISPs allows for both temporary and long-term storage of
electronic communications and many other types of
electronic data and files. Typically, e-mail that has
not been opened by an ISP customer is stored
temporarily by an ISP incident to the transmission of
that e-mail to the intended recipient, usually within
an area known as the home directory. Such temporary,
incidental storage is defined by statute as ‘electronic
storage,” see 18 U.S.C. § 2510(17), and the provider of
such a service is an “electronic communications
service. ” An “electronic communications service,” as
defined by statute, is “any service which provides to
users thereof the ability to send or receive wire or
electronic communications. 18 U.S.C. § 2510(15). A
service provider that is available to the public and
provides storage facilities after an electronic
communication has been transmitted and opened by the
recipient, or provides other long term storage services
to the public for electronic data and files, is defined
by statute as providing a “remote computing service.”
18 U.S.C. § 2711 (2).

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e. Internet Protocol Address (IP Address): Every computer
or device on the Internet is referenced by a unique
Internet Protocol address the same way every telephone
has a unique telephone number. An IP address is a
series of four numbers separated by a period, and each
number is a whole number between 0 and 254. An example
of an IP address is 192.168.10.102. Each time an
individual accesses the Internet, the computer from
which that individual initiates access is assigned an
IP address. A central authority provides each ISP a
limited block of IP addresses for use by that ISP's
customers or subscribers. Most ISP’s employ dynamic IP
addressing, that is they allocate any unused IP address
at the time of initiation of an Internet session each
time a customer or subscriber accesses the Internet. A
dynamic IP address is reserved by an ISP to be shared
among a group of computers over a period of time. The
ISP logs the date, time and duration of the Internet
session for each IP address and can identify the user
of that IP address for such a session from these
records. Typically, users who sporadically access the

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Internet via a dial-up modem will be assigned an IP
address from a pool of IP addresses for the duration of
each dial-up session. Once the session ends, the IP
address is available for the next dial-up customer. On
the other hand, some ISP’s, including most cable
providers, employ static IP addressing, that is a
customer or subscriber’s computer is assigned one IP
address that is used to identify each and every
Internet session initiated through that computer. In
other words, a static IP address is an IP address that
does not change over a period of time and is typically
assigned to a specific computer.

f. Log File: Log files are records automatically produced
by computer programs to document electronic events that
occur on computers. Computer programs can record a

wide range of events including remote access, file
transfers, logon/logoff times, and system errors. Logs
are often named based on the types of information they
contain. For example, web logs contain specific
information about when a website was accessed by remote
computers; access logs list specific information about
when a computer was accessed from a remote location;
and file transfer logs list detailed information
concerning files that are remotely transferred.

g. Modem: A modem is an electronic device that allows one
computer to communicate with another.

h. Trace Route: A trace route is an Internet debugging
tool used to document the list of inter-connected
computers between two computers on the Internet. A
trace route will list the names and IP addresses of
computers that provide the physical link between two
computers on the Internet. Trace routes are useful
tools to help geographically identify where a computer
on the Internet is physically located, and usually
includes information about the registered owner of
computers on the Internet.

i. Website: A website consists of textual pages of
information and associated graphic images. The textual
information is stored in a specific format known as
Hyper-Text Mark-up Language (HTML) and is transmitted
from the web servers to various web clients via Hyper-
Text Transport Protocol (HTTP).

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i. Website Hosting: Website hosting provides the equipment
and services required to host and maintain files for
one or more websites and to provide rapid Internet
connections to those websites. Most hosting is
“shared,” which means that multiple websites of
unrelated companies are on the same server in order to
reduce associated costs. When a client develops a
website, the client needs a server and perhaps a web
hosting company to host it. “Dedicated hosting” means
that the web hosting company provides all of the
equipment and assumes all of the responsibility for
technical support and maintenance of a website. “Co-
location” means a server is located at a dedicated
hosting facility designed with special resources, such
as a secure cage, regulated power, a dedicated Internet
connection, online security and online technical
support. Co-location facilities offer customers a
secure place to physically house their hardware and
equipment as opposed to keeping it in their offices or
warehouse, where the potential for fire, theft or
vandalism is greater.

THE INVESTIGATION
13. In April 2006, Immigration and Customs Enforcement’ s
Cyber Crimes Center, Child Exploitation Section initiated an
investigation into a criminal organization operating a commercial
child pornography website known as “Home Collection.” The
investigation has revealed that the same organization is

operating numerous commercial child pornography websites. In

addition, the organization utilizes various PayPal’ accounts to

The following information was obtained from PayPal’s
website located at URL
http: //www.PayPal.com: founded in 1998, PayPal, an eBay Company,
enables any individual or business with an email address to
securely, easily and quickly send and receive payments online
using a credit card or bank account information. It is the most
popular way to electronically pay for eBay auctions and it is
becoming an inexpensive way for merchants to accept credit cards
in their on-line storefronts instead of using a traditional

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process the payments for access to the member restricted

websites.

14. The initial member restricted website was located at

URL: http: //members.homecollect.us and was known as “Home

Collection.” The investigation has revealed that the
organization offered individuals monthly access to a member
restricted website for $79.95 a month. The member restricted
website solicits customers through an advertising website. The
member restricted website communicates with customers via several
different e-mail accounts. ICE/C3/CES has conducted over 60
undercover transactions at the advertising websites associated
with this investigation, which provided access to approximately

23 different member restricted websites.

15. Each one of the undercover purchases followed one of
the below listed patterns:

Pattern One:
I. The ICE agent accessed a specific advertising website.

payment gateway. PayPal's service builds on the existing
financial infrastructure of bank accounts and credit cards and
utilizes the world's most advanced proprietary fraud prevention
systems to create a safe, global, real-time payment solution.
PayPal is a significant leader in online payment solutions, with
78 million account members worldwide. PayPal is available in 56
countries and regions around the world. Buyers and sellers on
eBay, online retailers, online businesses, including operators
and hosts of Internet websites, as well as traditional offline
businesses, transact with PayPal. PayPal identifies its accounts
by the contact email address or addresses an account holder

provides to PayPal as a contact address.

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ii.

iii.

iv.

vi.

The ICE agent was redirected to an “iWest” payment
website and entered personally identifiable
information, including credit card information. The
“iWest” payment website identified a specific member
restricted website through the use of the subject
identifiers.

After completing the required information and clicking
submit, the ICE agent was redirected to a second web
page indicating the payment was currently being
processed and to check for further information in the
e-mail account provided by the ICE agent.

The ICE agent received an e-mail containing payment
completion instructions, which included a hyperlink to
a PayPal account.

The ICE agent completed the transaction via the PayPal
account.

The ICE agent received access to the member restricted
website from one of the administrative e-mails
associated with the criminal organization.

Pattern Two:

rT.
ii.

iii.

iv.

vi.

16.

The ICE agent accessed a specific advertising website.
The ICE agent was redirected to an “iWest” payment
website and entered personally identifiable
information, including credit card information. The
“iWest” payment website identified a specific member
restricted website through the use subject
identifiers.

After completing the required information and clicking
submit, the ICE agent was redirected to a second web
page indicating the payment was currently being
processed. The web page also contained a button the
agent had to click to complete the payment.

The ICE agent clicked the button and was redirected to
a secure PayPal payment web page.

The ICE agent completed the transaction via the PayPal
account.

The ICE agent received access to the member restricted
website from one of the administrative e-mails
associated with the criminal organization.

IDENTIFICATION OF CERTAIN PAYPAL ACCOUNTS

As indicated above, this criminal organization utilizes

multiple PayPal accounts to process payments for the monthly

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subscription fees to the member restricted website. PayPal
maintains transactional records for each PayPal account. The
transactional records indicate at least the following items: date
of purchase, time of purchase, name of customer, subject
identifier assigned by the owner of the PayPal account indicating
what the customer is purchasing, amount of purchase, customer’s
‘IP address, customer’s e-mail address, seller’s e-mail address,
and the Item ID. In addition, PayPal also captures. the

customer’s full billing address.

17. From approximately June 2006 to February 2007, ICE
agents identified numerous child exploitation advertising
websites that used the “iWest” payment website. As described in
the two patterns listed in paragraph 15, ICE agents that
conducted the undercover transactions would enter personally
identifying information at the “iWest” payment website, but would
ultimately be redirected to PayPal to complete the transaction.
ICE agents made undercover transactions for access to child

exploitation member restricted websites to the following PayPal

accounts:

Business Name: Primary E-Mail Address:
Proof Soft androdork@qmail.com
Lencomps LTD Lencomps@juno.com

Proof Soft a_chakin@yahoo.com
Belfast LTD belfastltd@juno.com
Belfast LTD lag89@nc.rr.com
Financial Services belfast lJtd@juno.com
Proof Soft pallone21@gmail.com

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Bullet Proof Soft rrpay@hotmail.com

Bullet Proof Soft Prevesl101@hotmail.com

Bullet Proof Soft freeawh bsb@yahoo.com

Bullet Proof Soft bsb22flash@vyahoo.com

Lencomps LTD lencompsltd@juno.com

N/A mr.corax@gmail.com

Jfire Financial jufire@hotmail.com

Al Soft_TM webfs@email.com

S Market carbonnoid@hotmail.com

A. Identification of the subject identifiers and Item IDs used

in the PayPal accounts

18. As discussed in paragraph 14, ICE agents have conducted
over 60 undercover transactions during the course of this
investigation. The undercover transactions have identified a
group of PayPal accounts that are being used to facilitate
customer payments to specific child exploitation member
restricted websites. Those specific child exploitation member
restricted websites can be identified in the PayPal transactional
logs by the subject identifiers utilized by this criminal
organization. In or about November 2006, the criminal
organization stopped utilizing the listed subject identifiers to
identify the specific member restricted websites associated with
each purchase. They began using generic Invoice numbers, with a
unique Invoice number assigned to each transaction. In addition
to the subject identifiers, the criminal organization also
assigned Item IDs to each of the specific member restricted
websites. For each specific member restricted website, the

criminal organization assigned a unique Item ID, which also

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appeared in the PayPal transactional logs. The following subject
identifiers with associated Item IDs were identified during

undercover transactions:

Subject Identifier: Item Number:
Sexy Angels 1000
Desired Angels 1001
Home Collection 1002
SickCR Package v5.06 Build 3638 1003
DarkRO XP Tools v2.04 1004
Underage Home 1005
Angel Collection 1006 1006
Angel Collection 1010 1010
HL Package/Hardlovers Paysite 1012
RH Collection 1013
Spycam Lolitas 1144
Boys Say Go 1156
Video Shop CD1l 1159
Video Shop CD2 1160
Video Shop CD3 1161
Video Shop CD4 1162
Video Shop CD5 1163
Kidz Index 1177
CP City 1202
Lolivirgins 1192
Excited Angels 1218

THE SUBJECT OF THIS SEARCH WARRANT

19. Analysis of the transactional logs obtained from PayPal
provide the name and address of various customers that purchased
access to at least one of the identified child pornography
websites, including the subject of this search warrant as

described and detailed below.

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20. On December 18, 2006, Channing BURGESS made a payment
to PayPal account BELFAST LTD@JUNO.COM. The payment was for Sexy
Angels in the amount of $79.95. The PayPal transactional logs
provided the following relevant information:

Date: December 18, 2006

Time: 15:42:47 PST

Name: Channing BURGESS

Subject: Invoice # 24973

Other IP: 66.45.139.124

Gross: $79.95

From Email Address: superstarcsb@yahoo.com
To Email Address: BELFAST LTD@JUNO.COM
Item ID: 1000

First Name: Channing

Last Name: BURGESS

Primary Email: superstarcsb@yahoo.com
Primary Address: ,
Kansas 66046

Night Phone:

21. As stated in paragraph 14, ICE agents have conducted
over 60 undercover transactions during the course of this

investigation. In conducting these undercover transaction, ICE

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agents have identified specific subject identifiers and Item Ids
that are associated with child exploitation member restricted

websites. The identifier Item ID: 1000 refers to a child
exploitation member restricted website known as “Sexy Angels.”
ICE agents purchased access to this member restricted website on
the following dates: 10/05/06; 11/28/06 and 1/19/07. On each
occasion, the transaction was either identified by the website

identifier Sexy Angels or the Item ID 1000.

22. Home Collection 1000/Sexy Angels: The member restricted
website associated with the subject identifiers Home Collection
1000 and “Sexy Angels” is known as “Sexy Angels.” The member
restricted website contained the following sections: “News;”
“Photos;” “Videos;” “Software;” “Message Board;” and “Cancel or
Rebill.” There were approximately 9,442 images files in the
“Photos” section and approximately 186 video files. Several of
the images depicted lascivious displays of the female minors’
genitalia. The female minors were displayed in sexually
suggestive manners. The images were submitted to NCMEC, but
NCMEC was unable to match any of the images with known victims.
The following image descriptions provide a sample of the content
of the member restricted website:

Image 0096

(http: //sexyangels. freeawh.com/members/photos/old-2004-lolitas—
022/image0096)

This image displays a close up shot of a nude prepubescent female
minor’s vagina. There are approximately 102 images of the same
prepubescent female minor in the listed gallery. The majority of
the images depict the female minor at the beach removing her
bathing suit. This image focuses on her vagina. The female
minor appears to be standing, bent slightly at the waist. The
image clearly displays the female minor’s anus and vagina.

Image 0059

(http:// sexyangels.freeawh.com/members/photos/ls-magazine-

0004/0059. 4pg)
This image displays two nude prepubescent female minors lying on

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a bed. The closer female minor is lying with her head resting on
the other female minor’s vagina. They are both lying on their
backs. The closer female minor has her left arm behind the left
leg of the second female minor and her right hand pointing
towards her own vagina. Both of her legs are bent at the knee
and her feet are touching. There is a clear display of her
vagina and breasts. The second female minor is also lying on her
back; her head slight off the bed. Both of her legs are bent at
the knee and her feet are also touching. Her legs are raised in
the air and each hand is grasping one of her legs at her shin.

Image 0027
(http: // sexyangels. freeawh.com/members/photos/1s-models-

0004/0027.jpg)
This image displays a close up shot of a nude prepubescent female
minor’s anus and vagina. The female minor has her butt and legs
in the air; with her legs spread clearly displaying her anus and
vagina.

23. The three image files described in the above paragraph

and downloaded from the web site Sexy Angels meet the criteria of

child pornography as defined in 18 U.S.C. § 2256.

24, Paypal transactional logs also show that on January 30,
2007, Channing BURGESS made a payment of $79.95 to a Paypal
account described in paragraph 17 from the IP address
66.45.139.124. The site ID number listed in this transaction has
not been fully identified as being a child pornography web site

by this investigation at this time.

25. YAHOO Inc, Sunnyvale, California is an company through

which the E-mail address superstarcsb@yahoo.com is issued.

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Records from Yahoo Inc reveal that the E-mail address
superstarcsb@yahoo.com is subscribed to Channing Stewart BURGESS,
% , Lawrence, Kansas 66046. YAHOO

Inc records show that Channing BURGESS lists his contact

telephone number as being and

26. YAHOO Inc confirmed that the superstarcsb@yahoo.com E-
mail account was active on December 18, 2006, and that the
account has been active since March 16, 2001. YAHOO records
show from May to July 2007 that the YAHOO E-mail account

superstarcsb@yahoo.com is being accessed through the IP address

24,.124.88.184.

27. Internet record checks on the IP address 24.124.88.184
and IP address 66.45.139.124 reveal that these IP addresses are
owned by Internet service provider SUNFLOWER BROADBAND in.
Lawrence, Kansas. SUNFLOWER BROADBAND records show that IP
address 24.124.88.184 is currently subscribed to Channing BURGESS
at the service address e , Lawrence,
Kansas 66046. SUNFLOWER BROADBAND records show that Channing

BURGESS has been a customer since March, 2005, and has a contact

telephone number of

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28. A record check with the Kansas Department of Revenue,
Drivers Licence Bureau on a Channing BURGESS revealed a Kansas
Drivers License number K02540573 issued to a Channing Stewart
BURGESS with the date of birth . . The Kansas
Drivers License shows an address of

, Lawrence, Kansas 66046 for Channing Stewart BURGESS. The

Kansas Drivers License was issued to Channing Stewart BURGESS on

September 21, 2006.

29, Credit history record checks on Channing Stewart

BURGESS show that BURGESS is listed to reside at the address
, Lawrence, Kansas 66046.

30. On August 13, 2007, Detective Warren Burkett of the
Lawrence, Kansas Police Department conducted a drive-by the
address , Lawrence, Kansas 66046.
Detective Burkett described the address to be a three story
multifamily structure containing 36 apartments which is broken
into three sections with each section containing 12 apartments
each. The apartment building is tan and gray in color with black
shutters on each side of the apartment windows. The main entry
into each section is located in the middle of each building which
has a hallway and stairs. The target building has a large “P”

attached to the building above the entry hallway. Apartment 31

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igs located on the second floor of building “ep” and the apartment
numbers are affixed to the building on the left side of the entry
door to the apartment. The apartment building is located in the

city of Lawrence, Douglas County, Kansas.

SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER SYSTEM

31. Based upon your affiant's knowledge, training and
experience, and the experience of other law enforcement
personnel, your affiant knows that in order to completely and
accurately retrieve data maintained in computer hardware or on
computer software, all computer equipment, peripherals, related
instructions in the form of manuals and notes, as well as the
software utilized to operate such a computer, must be seized and
subsequently processed by a qualified computer specialist in an
appropriate setting such as an office or laboratory. This is

true because of the following:

a. Computer storage devices (like hard disks,
diskettes, tapes, laser disks, Bernoulli drives) can store the
equivalent of hundreds of thousands of pages of information.
Additionally, a suspect may try to conceal criminal evidence, and
he or she might store criminal evidence in random order with
deceptive file names. This may require searching authorities to
examine all the stored data to determine which particular files
are evidence or instrumentalities of crime. This sorting process
can take weeks or months, depending on the volume of data stored,
and it would be impractical to attempt this kind of data search

on site.

b. Searching computer systems for criminal evidence
is a highly technical process, requiring expert skill anda
properly controlled environment. The vast array of computer
hardware and software available requires even computer experts to

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specialize in some systems and applications, so it is difficult
to know before a search which expert is qualified to analyze the
system and its data. In any event, however, data search
protocols are exacting scientific procedures designed to protect
the integrity of the evidence and to recover even “hidden,”
erased, compressed, password-protected, or encrypted files.

Since computer evidence is extremely vulnerable to inadvertent or
intentional modification or destruction (both from external
sources or from destructive code imbedded in the system as a
“booby trap”), a controlled environment is essential to its

complete and accurate analysis.

,

32. Based upon your affiant’s consultation with experts in
computer searches, data retrieval from computers and related
media and consultations with other agents who have been involved
in the search of computers and retrieval of data from computer
systems, your affiant knows that searching computerized
information for evidence or instrumentalities of crime commonly
requires agents to seize all of a computer system’s input/output
peripheral devices, related software, documentation, and data
security devices (including passwords) so that a qualified
computer expert can accurately retrieve the system’s data ina
laboratory or other controlled environment. This is true because

of the following:

a. The peripheral devices which allow users to enter
or retrieve data from the storage devices vary widely in their
compatibility with other hardware and software. Many system
storage devices require particular input/output (or “1/0”)
devices in order to read the data on the system. It is important
that the analyst be able to properly re-configure the system as
it now operates in order to accurately retrieve the evidence
listed above. In addition, the analyst needs the relevant system
software (operating systems, interfaces, and hardware drivers)
and any applications software which may have been used to create
the data (whether stored on hard drives or on external media), as

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well as all related instruction manuals or other documentation
and data security devices. If the analyst determines that the
I/O devices, software, documentation, data security devices are
not necessary to retrieve and preserve the data after inspection,
the government will return them in a reasonable time.

b. In order to fully retrieve data from a computer
system, the analyst also needs all magnetic storage devices as
well as central processing unit (CPU). In cases like this one

where the evidence consists partly of graphics files, the monitor
and printer are also essential to show the nature and quality of
the graphic images which the system could produce. Further, the
analyst again needs all the system software (operating systems or
interfaces, and hardware drivers) and any applications software
which may have been used to create the data (whether stored on
hard drives or on external media) for proper data retrieval.

c. In addition, there is probable cause to believe
that the computer and its storage devices, the monitor, keyboard,
and modem are all instrumentalities of the crime of transmitting
child pornography in violation of law, and should all be seized
as such.

d. I am familiar with and understand the implications
of the Privacy Protection Act (“PPA”), 42 U.S.C. § 2000aa, and
the role of this statute in protecting First Amendment
activities. I am not aware that any of the materials to be
searched and seized from the SUBJECT PREMISES are protected
materials pursuant to the PPA. If any such protected materials
are inadvertently seized, all efforts will be made to return
these materials to their authors as quickly as possible.

CONDUCT OF INDIVIDUALS INVOLVED IN CHILD PORNOGRAPHY

33. Pursuant to my training and experience, as well as the
training and experience of other law enforcement personnel, I

have learned that:
a. Child pornography is not readily available in retail
establishments; accordingly, individuals who wish to obtain child

pornography do so by ordering it from abroad or by discreet
contact with other individuals who have it available.

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b. the use of computers to traffic in, trade, or collect
child pornography and obscenity has become one of the preferred
methods of obtaining obscene and child pornographic materials.
An individual familiar with a computer can use it, usually in the
privacy of his own home or office, to interact with another
individual or a business offering such materials in this country
or elsewhere in the world. The use of a computer provides
individuals interested in obscenity or child pornography with a
sense of privacy and secrecy not attainable by other media. It
also permits the individuals to contact and interact with many
more individuals than through the use of the mails.

c. Your affiant is aware from training and experience that
persons involved in sending or receiving child pornography tend
to retain it for long periods of time. This tendency is enhanced
by the increased sense of security that a computer affords. In
addition, your affiant is aware from training and guidance that
persons who procure child pornography and who have a proclivity
for sexual activity involving youths, obtain and retain
magazines, films, videos, pictures and other items of child
pornography as well as correspondence, advertising, bills, and
notes relating to sexual activity involving children for long
periods of time and do not dispose of or destroy such materials
except to trade such materials with others in exchange for
similar items. In addition, your affiant's training has shown
that such material is normally and generally kept in the
individual's residence or other secure location to ensure

convenient and ready access.

CONCLUSION

34. Based upon the foregoing, Your affiant asserts that
probable cause exists that the computer, and related documents
pertaining to the acquisition, and distribution of child
pornography are located on the premises at ©

Lawrence, Kansas 66046.

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35. Your affiant would respectfully suggest that there is
probable cause to believe that these records are maintained in
files, computer storage facilities or other data storage
facilities, and that, within these files, there are records-~
namely, correspondence, notes, papers, ledgers, personal
telephone and address books, telephone toll records, telephone
message slips, memoranda, telexes, facsimiles, documents,
photographs, negatives, photographic slides or other visual
depictions or equipment--used to depict child pornography

materials.

36. Additionally, your affiant believes that evidence of
violations of 18 U.S.C. § 2252 are contained or concealed in CD
Rom disks, DVD disks, thumb drives, video tapes, computer tapes,
cassettes, cartridges, streaming tape, commercial software and
manuals, hardware, computer disks, disk drives, monitors,
computer printers, modems, tape drives, disk applications
programs, data disks, system disk operating systems, magnetic
media-floppy disks, tape systems and hard drive and other
computer related operating equipment, which depict or are used to
depict child pornographic materials contrary to the laws of the

United States.

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37. Based on all the foregoing, your affiant respectfully
suggest that there is probable cause to believe that child
pornography, and other evidence of the use of computers to
traffic in child pornography as set forth in the attached search
warrant, will be found on the premises located at

, Lawrence, Kansas 66046 and under the control of

Channing Stewart BURGESS and/or other individuals unknown, and
that those items of child pornography constitute merchandise
imported distributed and/or transported across state lines

contrary to the laws of the United States.

38. Your affiant respectfully requests that a search
warrant be issued authorizing the Immigration and Customs
Enforcement, with the appropriate assistance from other law
enforcement officers, to search for and to seize items listed in
the attached attachment A, which is property that constitutes
evidence of a criminal offense in violation of 18 USC § 2252 and
also contraband, the fruits of a crime, or things otherwise

criminally possessed.

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39. Your affiant respectfully requests that a search
warrant be issued authorizing the Immigration and Customs
Enforcement, with the appropriate assistance from other law

enforcement officers, to enter the following described premises:

RESIDENCE DESCRIPTIONS
, Lawrence, Kansas 66046:

Located at the address is a three story multifamily structure
containing 36 apartments which is broken into three sections with
each section containing 12 apartments each. The apartment
building is tan and gray in color with black shutters on each
side of the apartment windows. The main entry into each section
is located in the middle of each building which has a hallway and
stairs. The target building has a large “P” attached to the
building above the entry hallway. Apartment 31 is located on
the second floor of building “P” and the apartment numbers are
affixed to the building on the left side of the entry door to the
apartment. The apartment building is located in the city of
Lawrence, Douglas County, Kansas.

FURTHER AFFIANT SAYETH NOT.

Qa I bac

pees © Kanatzar, Sp@ial Agent
igration and Customs Enforcement

Subscribed and sworn before
me this |lAh day of August, 2007.

HONORABLE DAVID W. WAXSE /
UNITED STATES MAGISTRATE JUDGE

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ATTACHMENT A
ITEMS TO BE SEIZED

1. Tapes, cassettes, cartridges, streaming tape,
commercial software and hardware, computer disks, disk drives,
monitors, computer printers, modems, tape drives, disk
application programs, data disks, CD Rom disks, DVD disks, thumb
drives, system disk operating systems, magnetic media floppy
disks, hardware and software operating manuals, tape systems and
hard drive and other computer related operation equipment,
digital cameras, scanners in addition to computer photographs,
Graphic Interchange formats and/or photographs, undeveloped
photographic film, slides, or other visual depictions of such
Graphic Interchange format equipment which may be, or are used to
visually depict child pornography, information pertaining to the
sexual interest in child pornography, sexual activity with
children or the distribution, possession or receipt of child
pornography, or information pertaining to an interest in child
pornography, and the data within the aforesaid objects relating
to said materials.

2. Correspondence pertaining to the possession, receipt or
distribution of visual depictions of minors engaged in sexually
explicit conduct, as defined in Title 18, United States Code,
Section 2256 transmitted or received using computer, some other

facility or means of interstate or foreign commerce, common

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carrier, or the U.S. mail.

3. Books and magazines containing visual depictions of
minors engaged in sexually explicit conduct, as defined in Title
18, United States Code, Section 2256.

4. Originals, copies and negatives of visual depictions of
minors engaged in sexually explicit conduct, as defined in Title
18, United States Code, Section 2256.

5. Motion picture films and video cassettes of visual
depictions of minors engaged in sexually explicit conduct, as
defined in Title 18, United States Code, Section 2256.

6. Envelopes, letters, and other correspondence including,
but not limited to, electronic mail, chat logs, and electronic
messages, offering to transmit through interstate or foreign
commerce, including by United States mail or by computer, visual
depictions of minors engaged in sexually explicit conduct, as
defined in Title 18, United states Code, Section 2256.

7. Envelopes, letters, and other correspondence including,
but not limited to, electronic mail, chat logs, and electronic
messages, soliciting minors to engage in sexually explicit
conduct for the purposes of producing child pornography as
defined in Title 18, United States Code, Section 2251.

8. Envelopes, letters, and other correspondence including,
but not limited to, electronic mail, chat logs, electronic

documents and messages, describing or related to the operation of

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the child pornography distributors/collectors as described in the
attached affidavit, as well as any envelopes, letters, and other
correspondence including, but not limited to, electronic mail,
chat logs, electronic documents and messages related to the
solicitation and/or invitation for membership into this group.

9. Envelopes, letters, and other correspondence,
including, but not limited to, electronic mail, chat logs and
electronic messages, identifying persons transmitting through
interstate or foreign commerce, including by United states mail
or by computer, any visual depiction of minors engaged in
sexually explicit conduct, as defined in Title 18, United States
Code, Section 2256.

10. Books, ledgers, and records bearing on the production,
reproduction, receipt, shipment, orders, requests, trades,
purchases, or transactions of any kind involving the transmission
through interstate or foreign commerce including by United States
mail or by computer, any visual depiction of minors engaged in
sexually explicit conduct, as defined in Title 18, United States
Code, Section 2256.

11. Address books, mailing lists, supplier lists, mailing
address labels, and any and all documents and records pertaining
to the preparation, purchase, and acquisition of names or lists
of names to be used in connection with the purchase, sale, trade,

or transmission, through interstate or foreign commerce including

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by United States mail or by computer, any visual depiction of
minors engaged in sexually explicit conduct, as defined in Title
18, United States Code, Section 2256.

12. Address books, names, lists of names and addresses of
minors visually depicted while engaged in sexually explicit
conduct, as defined in Title 18, United States Code, Section 256.

13. Diaries, notebooks, notes and other records reflecting
personal contact and other activities with minors visually
depicted while engaged in sexually explicit conduct, as defined
in Title 18, United States Code, Section 2256.

14. Materials and photographs depicting sexual conduct
between adults and minors.

15. Records evidencing occupancy or ownership of the
premises described above, including, but not limited to, utility
and telephone bills, mail envelopes, or addressed correspondence.

16. Records or other items which evidence ownership or use
of computer equipment found in the above residence, including,
but not limited to, sales receipts, bills for Internet access,

handwritten notes and handwritten notes in computer manuals.

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UNITED STATES DISTRICT COURT
DISTRICT OF KANSAS

In the Matter of the Search of
premises known as, SEARCH WARRANT

, Lawrence, CASE NUMBER: 07-8085-DJW
Kansas 66046

To: Special Agent of the Immigration and Customs Enforcement, James D Kanatzar,
and any Authorized Officer of the United States

Affidavit(s) having been made before me by, Immigration and Customs Enforcement, SA James D
Kanatzar, who has reason to believe that on the person of or on the premises known as:

- Lawrence, Kansas 66046

a three story multifamily structure containing 36 apartments which is broken into three
sections with each section containing 12 apartments each. The apartment building is tan
and gray in color with black shutters on each side of the apartment windows. The main
entry into each section is located in the middle of each building which has a hallway and
stairs. The target building has a largéP” attached to the building above the entry hallway.
Apartment 31 is located on the second floor of building “P” and the apartment numbers
are affixed to the building on the left side of the entry door to the apartment. The
apartment building is located in the city of Lawrence, Douglas County, Kansas.

in the District of Kansas there is now concealed certain property, namely:

See Attachment A. Which are evidence, fruits, and instrumentalities of trafficking, receipt,
distribution, and/or possession of visual depictions, and other related materials, involving
minors engaging in sexually explicit conduct (child pornography), as defined in Title 18,
United States Code, Section 2252.

| am satisfied that the affidavit(s) and any recorded testimony establish probable cause to believe that
the property so described is now concealed on the premises above-described and establish grounds for

the issuance of this warrant.

YOU ARE HEREBY COMMANDED to search on or before. a a | SO o>

(not to exceed 10 days)the person or place named above for the property sbecified, serving this warrant

and making the search (in the daytime — 6:00 A.M. to 10:00 P.M.)
ginc- reasonable cause hasbeer-estabtished) and if the property be found there to seize same, leaving

a copy of this warrant and receipt for the property taken, and prepare a written inventory of the property
seized and promptly return this warrant to United States Magistrate Judge David J. Waxse as required

by law.
Peusst- {le 2007 at Kansas City, Kansas

Date4nd Time Issued At 3:40 Wow)
Honorable DAVID J. WAXSE VU
U.S, Magistrate Judge (Cy~

Name and Title of Judicial Officer Signature of Judicibl Officer ~

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ATTACHMENT A
ITEMS TO BE SEIZED

1. Tapes, cassettes, cartridges, streaming tape,
commercial software and hardware, computer disks, disk drives,
monitors, computer printers, modems, tape drives, disk
application programs, data disks, CD Rom disks, DVD disks, thumb
drives, system disk operating systems, magnetic media floppy
disks, hardware and software operating manuals, tape systems and
hard drive and other computer related operation equipment,
digital cameras, scanners in addition to computer photographs,
Graphic Interchange formats and/or photographs, undeveloped
photographic film, slides, or other visual depictions of such
Graphic Interchange format equipment which may be, or are used to
visually depict child pornography, information pertaining to the
sexual interest in child pornography, sexual activity with
children or the distribution, possession or receipt of child
pornography, or information pertaining to an interest in child
pornography, and the data within the aforesaid objects relating
to said materials.

2. Correspondence pertaining to the possession, receipt or
distribution of visual depictions of minors engaged in sexually
explicit conduct, as defined in Title 18, United States Code,
Section 2256 transmitted or received using computer, some other

facility or means of interstate or foreign commerce, common

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Carrier, or the U.S. mail.

3. Books and magazines containing visual depictions of
minors engaged in sexually explicit conduct, as defined in Title
18, United States Code, Section 2256.

4, Originals, copies and negatives of visual depictions of
minors engaged in sexually explicit conduct, as defined in Title
18, United States Code, Section 2256.

5. Motion picture films and video cassettes of visual
depictions of minors engaged in sexually explicit conduct, as
defined in Title 18, United States Code, Section 2256.

6. Envelopes, letters, and other correspondence including,
but not limited to, electronic mail, chat logs, and electronic
messages, offering to transmit through interstate or foreign
commerce, including by United States mail or by computer, visual
depictions of minors engaged in sexually explicit conduct, as
defined in Title 18, United states Code, Section 2256.

7. Envelopes, letters, and other correspondence including,
but not limited to, electronic mail, chat logs, and electronic
messages, soliciting minors to engage in sexually explicit
conduct for the purposes of producing child pornography as
defined in Title 18, United States Code, Section 2251.

8B. Envelopes, letters, and other correspondence including,
but not limited to, electronic mail, chat logs, electronic

documents and messages, describing or related to the operation of

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the child pornography distributors/collectors as described in the
attached affidavit, as well as any envelopes, letters, and other
correspondence including, but not limited to, electronic mail,
chat logs, electronic documents and messages related to the
solicitation and/or invitation for membership into this group.

9. Envelopes, letters, and other correspondence,
including, but not limited to, electronic mail, chat logs and
electronic messages, identifying persons transmitting through
interstate or foreign commerce, including by United states mail
/or by computer, any visual depiction of minors engaged in
sexually explicit conduct, as defined in Title 18, United States
Code, Section 2256.

10. Books, ledgers, and records bearing on the production,
reproduction, receipt, shipment, orders, requests, trades,
purchases, or transactions of any kind involving the transmission
through interstate or foreign commerce including by United States
mail or by computer, any visual depiction of minors engaged in
sexually explicit conduct, as defined in Title 18, United States
Code, Section 2256.

li. Address books, mailing lists, supplier lists, mailing
address labels, and any and all documents and records pertaining
to the preparation, purchase, and acquisition of names or lists
of names to be used in connection with the purchase, sale, trade,

or transmission, through interstate or foreign commerce including
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, any visual depiction of

minors engaged in Sexually explicit conduct, as defined in Title

18, United States Code, Section 2256,

12. Address books, names,

as defined in Title 18, United States Code, Section 256,
13. Diaries, notebooks,

notes and other records reflecting

personal contact and other activities with minors visually

depicted while engaged in Sexually explicit conduct, as defined
in Title 18,

United States Code, Section 2256,

14. Materials and Photographs depicting Sexual conduct

between adults and minors,

15. Records evidencing occupancy or Ownership of the

premises described above, including, but not limited to, utility
and telephone bills, mail envelopes,

16.

, including,

but not limited to, sales receipts, bills for Internet access,

handwritten notes and handwritten notes in computer manuals.

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Date ¥ | (FT [207

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Inventory Log

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DEPARTMENT OF HOMELAND SECURITY
IMMIGRATION AND CUSTOMS ENFORCEMENT

Page lof (.
Location 130/ west 244 street ft P31 lacrente ko

Item # ltem Description Location Discovered | Time | Person Discovering
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Warrant Number O7- ¥O85 —- DSW

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Completed by: Vincert F4a2,0

Resident Agent in Charge, 9747 NW Conant Ave., Kansas City, MO 64153

